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 6

 7                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 8

 9    VERONICA DUNCAN, individually, and on
      behalf of all others similarly situated,
10                                                         Case No. 2:21-cv-01848-GMN-EJY
             Plaintiff,
11                                                         PROPOSED STIPULATED DISCOVERY
             v.                                            PLAN AND SCHEDULING ORDER
12

13
      FIRST NATIONAL COLLECTION                            SCHEDULING REVIEW REQUESTED
14    BUREAU, INC.,

15           Defendant.

16          Plaintiff Veronica Duncan (“Plaintiff”) and Defendant First National Collection Bureau,
17
     Inc. (“Defendant”) (collectively “the parties”), by and through their respective counsel of record,
18
     submit their Stipulated Discovery Plan and Scheduling Order pursuant to Fed. R. Civ. P. 26(f)
19
     and LR 26-1 as follows:
20
            Pursuant to Rule 26(f), the parties met and conferred on February 23, 2022.
21

22
        (1) Discovery Cut-Off Date: December 31, 2022. Given that this case is a class action, a
23          discovery schedule that exceeds 180 days is appropriate because class discovery is
            significantly more burdensome and time consuming than individual discovery. Specifically,
24          the process of identifying putative class members by name may take months in of itself, as
25          it would require Defendant to search its records for accounts that contain certain codes that
            signify that a pre-recorded message call was placed. This undertaking may take several
26          months for Defendant to complete.

27                a. Date of Defendant’s Answer: December 22, 2021.
28
                                                       1
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 1             b. Last Date to File Discovery Motions: December 31, 2022.
 2      (2) Amending the Pleadings and Adding Parties: March 31, 2023.
 3      (3) Fed. R. Civ. P. 26(a)(2) Disclosures (Experts): August 30, 2022.
 4
               a. Disclosure of Rebuttal Experts: September 21, 2022.
 5
        (4) Dispositive Motions: January 30, 2023.
 6
        (5) Pretrial Order: March 1, 2023.
 7
        (6) Fed. R. Civ. P. 26(a)(3) Disclosures: March 1, 2023.
 8
        (7) Alternative Dispute Resolution. The parties certify that they met and conferred about the
 9
            possibility of using alternative dispute-resolution processes including mediation,
10          arbitration, and if applicable, early neutral evaluation. The parties believe that this case is
            best suited for meditation.
11
        (8) Alternative Forms of Case Disposition: The parties certify that have considered consent
12          to trial by a magistrate judge and have chosen to not to consent.
13      (9) Electronic Evidence: The parties certify that have discussed ESI and have agreed to
14          produce all ESI in .pdf format.

15     (10) Deadline to File Class Certification Motion: August 31, 2022

16
     By: /s/ Nicholas M. Wajda                                       By: /s/Kurt R. Bonds
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23                                                                   Collection Bureau, Inc.

24
                                                                 IT IS SO ORDERED.
25

26                                                               ____________________________
27                                                               U.S. MAGISTRATE JUDGE

28                                                               Dated: February 23, 2022


                                                      2
